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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 CHARLES RICE KENDALL et al.,

                      Plaintiffs,

       v.
                                                Civil Action No. 17-cv-01117
 LANCASTER EXPLORATION &
 DEVELOPMENT COMPANY, LLC,                      Hon. Matthew W. Brann
                                                United States District Judge
                      Defendant.
                        STIPULATION OF DISMISSAL
      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Intervenors SWN Production

Company, LLC, Chief Oil & Gas, LLC, Chief Exploration and Development LLC,

Radler 2000 L.P., Tug Hill Marcellus, LLC, and Enerplus Resources (USA)

Corporation are dismissed from this action, with each party to bear its own costs.

Dated: February 25, 2020             Respectfully submitted,

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